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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

UNITED STATES OF AMERICA,

                                      Plaintiff,
       vs.                                                           1:20-CV-1101
                                                                     (MAD/CFH)

MARK L. TIMON and DEBORA M. TIMON,

                              Defendant.
____________________________________________

APPEARANCES:                                                 OF COUNSEL:

UNITED STATES DEPARTMENT OF JUSTICE                          JULIA GLEN, ESQ.
P.O. Box 55 Ben Franklin Station                             PHILIP L. BEDNAR, ESQ.
Washington, D.C. 20044
Attorneys for the Government

Mae A. D'Agostino, U.S. District Judge:

        TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE

       The United States, pursuant to 26 U.S.C. § 7402(a) and Local Civil Rule 7.1 of the United

States District Court for the Northern District of New York, filed with this Court an ex parte

Motion for a Temporary Restraining Order freezing certain payments to them, in conjunction with

its Complaint against Mark L. Timon and Debora M. Timon ("Defendants") and for an order

requiring Defendants to show cause why a preliminary injunction should not be entered extending

the freeze.

       Upon consideration of the United States' motion, and its showing in support of that

application, the Court finds that, pursuant to 26 U.S.C. § 7402, a temporary restraining order is

necessary and appropriate for the enforcement of the internal revenue laws, and that (1) absent a

temporary restraining order, the United States may be irreparably harmed; (2) the United States
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established a likelihood of success on the merits; (3) the balance of hardship tips in the United

States' favor, particularly given the limited extent of the temporary relief sought; and (4) the

public interest will be served by an injunction, the motion is hereby GRANTED and the Court

hereby

          ORDERS that Defendant must file their response to the motion for preliminary injunctive

relief within seven (7) days of this Order, unless Defendants agree to extend the injunctive

provisions of this Order so that the hearing set forth below may be postponed; and the Court

further

          ORDERS that the United States may file any responsive papers by Wednesday,

September 30, 2020 and serve any and all necessary parties that same day; and the Court further

          ORDERS that, unless Defendants consent to an extension of the injunctive provisions of

this order beyond the 14 days initially provided in Fed. R. Civ. P. 65(b)(2), Defendants shall

appear at a hearing in this Court before the undersigned judge on Friday, October 2, 2020 at

1:00 p.m., which will be held telephonically or by video application (to be clarified by the Clerk

of the Court by docket text entry), to show cause why the terms of this order below should not be

converted into a preliminary injunction. The Court finds that this is a reasonable amount of

advance notice from the date of the United States' Motion given that the initial relief sought is

only a temporary freeze of disbursements. Defendants shall provide sufficient information

showing that the disbursements received from New England Greens are not traceable in any way

to assets subject to federal tax liens that arose prior to Defendants' bankruptcy petition. If in their

supporting papers Defendants agree to extend the date for a hearing to show cause, a hearing will

be scheduled by the Court within a reasonable amount of time at a date and time determined

appropriate by the Court; and the Court further
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       ORDERS that, until the hearing set above is concluded, and thereafter as may be extended

by the Court, New England Greens, LLC d/b/a Vibrant Health ("New England Greens"), their

attorneys or agents, and anyone acting in concert with them, are restrained, enjoined, and

prohibited from, directly or indirectly (through any other person or entity, including their

representatives, agents, servants, employees, attorneys, trustees):

               (1) making any distributions to Defendant Mark Timon with respect

               to his twenty percent interest in the company;

               (2) making any payments or transfers of money or other assets to

               Defendants with respect to Defendant Mark Timon's right to

               disbursements described in his March 2007 consulting agreement

               with New England Greens, including as modified or extended by

               any subsequent agreement; and/or

               (3) cooperating in any assignment or other transfer of Mark Timon's

               rights to receive payments of money from the company.

       In effect, there is a freeze of any and all disbursements made by New England Greens to or

for any interest owned by Defendants or any right to any percentage of sales receipts or otherwise,

pending the hearing to show cause.

       The freeze on disbursements for either Mark Timon's twenty percent interest in the

company or disbursements under the 2007 consulting agreement (or any modification or extension

thereof) shall freeze any and all disbursements to Mark Timon, Debora Timon, and any other

person, trust, or organization for Mark or Debora Timon's benefit, directly or indirectly, or to any

assignee of Mark Timon.



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        Nothing herein shall be construed to prohibit New England Greens from continuing the

conduct of its business, including collection of accounts receivable and payment of ordinary

course of business expenses, including payment of compensation to officers or employees or other

lawful distributions to persons other than Defendants, provided that any amount that would

otherwise be distributed to Defendants at the same time is held in reserve pending the Court's

determination of this civil action; and the Court further

        ORDERS that New England Greens, at its option, instead of freezing payments it may

otherwise be obligated to make to Defendants, may transfer all such payments to the Court's

registry pending the outcome of the hearing to show cause, and thereafter as may be extended by

the Court; and the Court further

        ORDERS that New England Greens shall promptly supply documents and other

information requested by government counsel limited to information regarding and documents

reflecting or related to (1) past payments, the reasons for payment, and the amounts previously

paid to Mark Timon; (2) future anticipated payments and the reasons for the anticipated amounts

to Mark Timon; and (3) Mark Timon's twenty percent ownership interest, its value, and any

income that may be or may have been generated in respect to that interest.

        Defendants shall have an opportunity at the hearing to demonstrate that freezing any

payments to Defendants from New England Greens is improper because the right to such

payments is not traceable in any way to Defendants' assets that are subject to the pre-bankruptcy

federal tax liens. Nothing herein shall preclude the United States from seeking alternative or

additional provisional relief in respect to its claim that the tax liabilities were not discharged in the

bankruptcy.



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        Any of the Restrained Parties may apply to the Court for modification of any of the above

provisions of this Order, for good cause shown; and the Court further

        ORDERS that the Clerk of the Court is directed to serve this Order only on the United

States and shall also telephone counsel for the United States and advise them of the entry of this

Order forthwith; and the Court further

        ORDERS that this Order shall thereupon be served by counsel for the United States on

Defendants and others in the following manners and shall be effective as to any person receiving

actual notice of its entry: Upon completing such service as detailed below, the United States shall

file a certificate of service.

                1.       The United States shall serve this Order upon New England

                Greens by delivering a copy of the Order, along with a copy of the

                Complaint, by overnight delivery (FedEx or UPS) to New England

                Greens through its Registered Agent, CT Corporation System at 67

                Burnside Ave., East Hartford, CT 06108-3408. The United States

                may also attempt to reach appropriate officers of New England

                Greens by telephone and then email them a copy of this order or

                may attempt to transmit this order by telefax to New England

                Greens to the attention of one or more of its officers.

                2.       The United States shall serve this Order upon Mark L.

                Timon and Debora M. Timon by email at mark@marktimon.com

                (who shall inform and provide a copy to Debora M. Timon) and by

                sending a copy of the Order, along with a copy of the Complaint, to

                them at their New Hampshire residence by FedEx or another
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             overnight delivery service. Signature shall not be required - the

             package may be left at the door.

             3.     Each person receiving a copy of this Order on behalf of any

             party who is aware of any email address or telefax number at which

             any party or New England Greens, LLC or any appropriate officer,

             agent, attorney, or other representative might be sent a copy of this

             Order shall send a copy of the same by those means.

 IT IS SO ORDERED.

Dated: September 18, 2020
       Albany, New York




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